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                             EXHIBIT 2
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                                 "text": "No question mark"
                             }
                         ]
                    },
                    {
                         "id": "aa043162-7a5d-4be3-b684-631040cf88f8",
                         "participant":             ",
                         "type": "message",
                         "timestamp": "2022-12-27T02:55:29.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "Yup"
                             }
                         ]
                    },
                    {
                     "id": "f6fc87a3-6ac1-4788-a020-5a0469a03cf9",
                     "participant":             ",
                     "type": "message",
                     "timestamp": "2022-12-27T02:55:53.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "He knows that your name gets clicks, and he
         was trying to maximize those clicks"
                         }
                     ]
                 },
                 {
                     "id": "3799785f-7a7b-4815-a80b-2d2c07ffbe32",
                     "participant":              ,
                     "type": "message",
                     "timestamp": "2022-12-27T02:56:07.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "And he knows that there are more clicks if
         you did something bad"
                         }
                     ]
                 },
                 {
                     "id": "251b24a9-cca7-488a-a69f-6a81694810b1",
                     "participant":             ",
                     "type": "message",
                     "timestamp": "2022-12-27T02:56:29.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "So he put out a hit piece despite knowing
         that you\u2019re not guilty so he could enrich himself"
                         }
                     ]




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                    },
                    {
                         "id": "c74fec06-2e66-4fb1-aac5-04b8725d0769",
                         "participant": "            ,
                         "type": "message",
                         "timestamp": "2022-12-27T02:57:12.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "100%"
                             }
                         ]
                    },
                    {
                         "id": "c57d332f-465b-4ebd-b131-d2b1312a8a84",
                         "participant":             ",
                         "type": "message",
                         "timestamp": "2022-12-27T02:57:14.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "Respect btw"
                             }
                         ]
                    },
                    {
                     "id": "9d32128e-d6a1-4039-bdae-36c6f50392e7",
                     "participant":             ",
                     "type": "message",
                     "timestamp": "2022-12-27T02:57:22.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "But has legal implications that won\u2019t be
         worth the views"
                         }
                     ]
                 },
                 {
                     "id": "479e45c6-6503-4b9b-b59e-4a989fceff1a",
                     "participant":              ,
                     "type": "message",
                     "timestamp": "2022-12-27T03:00:08.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "My concern is if he agrees to neutral
         location but says we both have to film. How would I logically tell him he
         can\u2019t film?"
                         }
                     ]
                 },
                 {
                     "id": "e8726183-092d-461d-97bb-408b7c999c83",




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                     "id": "cb447523-5167-4221-8873-5575ada4f16c",
                     "participant":              ,
                     "type": "message",
                     "timestamp": "2022-12-27T04:21:49.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "Whatever you send he\u2019s sharing. So keep
         that in mind."
                         }
                     ]
                 },
                 {
                     "id": "6fea22de-3f8d-4a23-809e-ec8a7b79b825",
                     "participant":              ,
                     "type": "message",
                     "timestamp": "2022-12-27T04:21:58.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "It\u2019s the crucial mistake he made.
         Assuming it was done"
                         }
                     ]
                 },
                 {
                     "id": "7adbc681-eb0a-4c5d-a5c6-5d8855f69404",
                     "participant":              ,
                     "type": "message",
                     "timestamp": "2022-12-27T04:22:00.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "100%"
                         }
                     ]
                 },
                 {
                     "id": "f7d9be2c-3424-493c-8b29-7d3149ee0efb",
                     "participant":              ,
                     "type": "message",
                     "timestamp": "2022-12-27T04:22:16.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "So you\u2019ve been trying to make it work?"
                         }
                     ]
                 },
                 {
                     "id": "4a9b0458-ffbb-4104-9e79-6f9dd9573773",
                     "participant":
                     "type": "message",
                     "timestamp": "2022-12-27T04:22:24.000",




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                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "This whole time?"
                             }
                         ]
                    },
                    {
                         "id": "f38b27eb-2b46-489e-af57-8a18c375dcb5",
                         "participant":              ,
                         "type": "message",
                         "timestamp": "2022-12-27T04:22:37.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "This whole time"
                             }
                         ]
                    },
                    {
                         "id": "f4798586-34c1-4291-995e-faf36701021a",
                         "participant":              ,
                         "type": "message",
                         "timestamp": "2022-12-27T04:22:39.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "Yup"
                             }
                         ]
                    },
                    {
                         "id": "5cd0df61-d842-45de-a963-ab23f88d74b8",
                         "participant":              ,
                         "type": "message",
                         "timestamp": "2022-12-27T04:22:48.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "According to my manager"
                             }
                         ]
                    },
                    {
                         "id": "c207e644-39be-47a9-bd24-bf066d04f9a6",
                         "participant":              ,
                         "type": "message",
                         "timestamp": "2022-12-27T04:31:03.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "I mean if that\u2019s the case he\u2019s
         cooked"
                            }




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                         ]
                    },
                    {
                         "id": "9f31c7a7-02d6-42dc-ba67-5d3a4d23fb23",
                         "participant":
                         "type": "message",
                         "timestamp": "2022-12-27T04:31:11.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "But you better be able to prove that"
                             }
                         ]
                    },
                    {
                         "id": "6b60560c-cf96-48ec-9f6e-d6c2b149eeff",
                         "participant":
                         "type": "message",
                         "timestamp": "2022-12-27T04:31:27.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "And discredit his witnesses"
                             }
                         ]
                    },
                    {
                         "id": "faa20d19-0878-4db3-8703-7bb2ae7be4df",
                         "participant":              ,
                         "type": "message",
                         "timestamp": "2022-12-27T04:31:33.000",
                         "deleted": false,
                         "blocks": [
                             {
                                 "text": "And discredit his intentions"
                             }
                         ]
                    },
                    {
                     "id": "83ff84f4-9867-432e-9645-9c4b0ef0f2c2",
                     "participant":              ,
                     "type": "message",
                     "timestamp": "2022-12-27T04:31:58.000",
                     "deleted": false,
                     "blocks": [
                         {
                             "text": "My suspicion is in his eyes you were guilty
         from the start and he was looking for proof."
                         }
                     ]
                 },
                 {
                     "id": "2a67eefa-87fc-4299-be2d-b9290ea06699",
                     "participant":




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